            Case 2:17-cr-00419-AKK-TMP Document 253-128 Filed 07/21/18 Page 1 of 1


   From:               Glberq Joel <jgilbert@balch, com>
   Sent:               Friday, February 24,201,7 tl:33 AM
   To:                 Butrus, Greg <GButrus@balch. com)
   Cc:                 Pilcher, Chad <cpilcher@balch.corn)
   Subject:            Re: Got time to talk today sornetime after lunch but before 3?


   Just did he can   fill you in

   Sent from my iPhone

   > On Feb 24,     2017 ,   at I 1 :03 AM, Butrus, Greg <GButrus@balch.com> wrote:

   > I am running today. May want to grab chad and I can circle w him later

   > On Feb 24, 2017, at 11:01 AM, Gilben, Joel <jgilbert@balch.com> wrote:

   > Meeting got done earlier than expected can stop by in next              l0 mins or so if that works better? If not will      be
   over atL,

   > Sent frorn my iPhone

   >> On Feb 24,2017, at l0:14         AM     Pilcher, Chad <cpilcher@bd,ch.com) wrote:

   >)   Yes, I can meet at 2:00.

   >> -----Ori ginal Message-----
   >> From: Glbert, Joel
   >> Sent: Friday, February 24,2017 8:55 AM
   >> To: Butus, Greg; Pilcher, Chad
   >> Subjest: Got time to talk today sometirne after lunch but before 3?



   >> Sent from my iPhone


   >> Joel I. Glbert, Partner, Balch & Bingham LLP
   >> 1901 Sixth Avenue North. Suite l50O.Birmingharq AL 3 5203-4642
   >> t (20 5 ) 226-87 3 7 f . (205) 4 8 8 -5 I 24e : j gi lb ert@bal ch. corn www. b al ch. com
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